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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                              WACO DIVISON

 JENNILYN SALINAS, LINDSEY                §
 NGUYEN, DEANNA LORRAINE, et              §
 al.                                      §
                                          §
       Plaintiffs.                        §
                                          §
 v.                                       §      CIVIL ACTION NO. 6:21-CV-162
                                          §
 NANCY PELOSI, MITCH                      §
 McCONNELL, CHUCK SCHUMER,                §
 MARK ZUCKERBERG, et al.                  §
                                          §
       Defendants.                        §      JURY TRIAL REQUESTED

                PLAINTIFFS’ NOTICE OF VOLUNTARY
       DISMISSAL OF ALL DEFENDANTS UNDER RULE 41(a)(1)(A)(i)

       COME NOW, Jennilyn Salinas, Lindsey Nguyen, Deanna Lorraine, “P.P.,”

“D.D.,” “T.M.,” “S.M.,” and “M.L.” (collectively, “Plaintiffs”), by and through their

attorney, Paul M. Davis, to file this their Notice of Voluntary Dismissal of All

Defendants Under Rule 41(a)(1)(A)(i) and respectfully represent the following:

       1.    Despite best efforts, Plaintiffs have not been able to muster the

resources necessary to continue to litigate this lawsuit. For the Defendants who have

filed pleadings, these Defendants have already stipulated to dismissal as reflected in

Document Nos. 172 and 177.      Since none of the remaining Defendants have filed an

answer in this lawsuit, Rule 41(a)(1)(A)(i) permits Plaintiffs to voluntarily dismiss

this action without a court order by filing a notice of dismissal.

       2.    Accordingly, Plaintiffs hereby file this notice of dismissal of this action

and request that the clerk enter a dismissal of this action in its entirety. However,
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to the extent the Court requires a motion for entry of an order of dismissal, Plaintiffs

are, of course, willing to do so if so instructed.

       3.     Plaintiffs and counsel wish to thank the Court, clerks, and staff for their

work related to this case and bearing with Plaintiffs in their attempt to fight back

against the corruption that is so evident in American government and politics today

and to hold the Defendants accountable for the despicable acts described in the

complaint.

       4.     As a final note, Plaintiffs and counsel are encouraged to see other

lawsuits being filed around the country to fight for election integrity and against

government tyranny.       Plaintiffs and counsel have no regrets for doing their best to

fight tyranny with this lawsuit and will now devote their modest means to assisting

in these other efforts around the country to restore the republic envisioned by our

founding fathers in the Constitution and to protect the individual God-given

“unalienable rights” as set forth in the Declaration of Independence. May God bless

these United States of America, deliver us from evil, and bring us back to our

founding principles of equality before God, liberty, and justice for all.

                                          Respectfully submitted this July 27, 2021.

                                          /s/ Paul M. Davis
                                          Paul M. Davis
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                                          ATTORNEY FOR PLAINTIFFS
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                           CERTIFICATE OF SERVICE

      I certify that I have served the foregoing notice on all counsel of record who

have made appearances in this action to date via the court’s ECF notification system.

                                       /s/ Paul M. Davis
                                       Paul M. Davis
